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 5
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 6

 7                         UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10    THRIVE NATURAL CARE, INC.,                 Case No. 2:20-cv-9091-PA-AS
11                    Plaintiff,                 PLAINTIFF THRIVE NATURAL
                                                 CARE, INC.’S APPLICATION TO
12          v.                                   FILE DOCUMENTS UNDER SEAL
13    THRIVE CAUSEMETICS, INC.,                  [Filed concurrently with: Sealed
                                                 Declaration of Stephen McArthur;
14                    Defendant.                 Redacted Version of Document
                                                 Proposed to be Filed Under Seal;
15                                               Unredacted Version of Document
                                                 Proposed to be Filed Under Seal; and
16                                               [Proposed] Order re Application for
                                                 Leave to File Under Seal]
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                                                              PLAINTIFF’S APPLICATION TO FILE
                                                                     DOCUMENTS UNDER SEAL
                                                                     Case No. 2:20-cv-9091-PA-AS
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 1         Pursuant to Local Rule 79-5.2.2, Plaintiff Thrive Natural Care Inc. submits this
 2   application to file certain documents under seal. Plaintiff intends to file the
 3   documents at issue as Exhibits 1 - 8 to the Sealed Declaration of Stephen McArthur
 4   in support of Plaintiff’s Application for Leave to File Under Seal.
 5         Exhibits 1-4 are unredacted copies of Defendant’s deposition transcripts and
 6   exhibits   that   contain   information     designated    “CONFIDENTIAL”               and
 7   “ATTORNEYS’ EYES ONLY” by Defendant. Counsel for Defendant has not
 8   consented to publicly filing the information that has been redacted from the public
 9   version of Exhibits 1-4.
10         Exhibit 5 is an unredacted copy of the Declaration of David Drews in support
11   of Plaintiff’s Motion for Partial Summary Judgment which contains various figures
12   and information designated “CONFIDENTIAL” and “ATTORNEYS’ EYES
13   ONLY” by Defendant. Counsel for Defendant has not consented to publicly filing
14   the information that has been redacted from the public version of Exhibit 5.
15         Exhibit 6 is an unredacted copy of Plaintiff’s Opening Brief in support of
16   Motion for Partial Summary Judgment which contains information designated
17   “CONFIDENTIAL” and “ATTORNEYS’ EYES ONLY” by Defendant. Counsel for
18   Defendant has not consented to publicly filing the information that has been redacted
19   from the public version of Exhibit 6.
20         Exhibit 7 is an unredacted copy of Plaintiff’s [Proposed] Order Granting
21   Plaintiff’s Motion for Partial Summary Judgment which contains information
22   designated “CONFIDENTIAL” and “ATTORNEYS’ EYES ONLY” by Defendant.
23   Counsel for Defendant has not consented to publicly filing the information that has
24   been redacted from the public version of Exhibit 7.
25         Exhibit 8 is an unredacted copy of Plaintiff’s Statement of Uncontroverted
26   Facts and Conclusions of Law in support of Motion for Partial Summary Judgment
27   which contains information designated “CONFIDENTIAL” and “ATTORNEYS’
28   EYES ONLY” by Defendant. Counsel for Defendant has not consented to publicly
                                                               PLAINTIFF’S APPLICATION TO FILE
                                                                      DOCUMENTS UNDER SEAL
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 1   filing the information that has been redacted from the public version of Exhibit 8.
 2         Pursuant to Local Rule 79-5.2.2, on August 5, 2021, counsel for the parties
 3   met and conferred regarding the status of the information identified in this
 4   Application, which Defendant has designated as confidential, in an attempt to
 5   eliminate or minimize the need for filing under seal by means of redaction. The
 6   parties were unable to reach agreement concerning the information identified in this
 7   Application.
 8         Plaintiff therefore respectfully requests that this Court grant this application to
 9   file Exhibits 1 – 8 under seal.
10   Dated: August 6, 2021                   Respectfully submitted
11                                           THE MCARTHUR LAW FIRM, PC
12
                                             By /s/ Stephen C. McArthur
13
                                             Stephen C. McArthur
14                                           Thomas E. Dietrich
15                                           Attorneys for Plaintiff Thrive Natural Care,
                                             Inc.
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                                                                 PLAINTIFF’S APPLICATION TO FILE
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 1                              CERTIFICATE OF SERVICE
 2   Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
     Case No.: 2:20-cv-9091-PA-AS
 3

 4   IT IS HEREBY CERTIFIED THAT:
 5
            I, the undersigned, declare under penalty of perjury that I am a citizen of the
 6   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
     Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
 7
              I have caused service of the following documents, described as:
 8
     PLAINTIFF THRIVE NATURAL CARE, INC.’S APPLICATION TO FILE
 9   DOCUMENTS UNDER SEAL
10   on Defendant’s counsel by electronic mail on August 6, 2021, at the following
     addresses:
11
     Ransom, Rollin rransom@sidley.com,
12   De Lilly, Lauren ldelilly@sidley.com
13   SIDLEY AUSTIN LLP
     555 West Fifth Street
14   Los Angeles, CA 90013
15

16   I declare under penalty of perjury under the laws of the United States of America
     that the foregoing is true and correct.
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      Date:     8/6/2021                 By: /s/ Rick Brown
                                             Rick Brown
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                                                                PLAINTIFF’S APPLICATION TO FILE
                                                                       DOCUMENTS UNDER SEAL
                                                 -3-                   Case No. 2:20-cv-9091-PA-AS
